
*243The Supreme Court affirmed the jn Igment of the Common Pleas, oh February 23rd, 1885, in the following opinión
Per Curiam.
The law is well settled that the owner of a mineral éstate, if not relieved by the terms of the conveyance, owes a servitude to the superincubent estate of sufficient support. This conveyance gives no such relief. All the parol evidence of the plaintiff in ■error is wholly insufficient to change the effect of the deed. It. does not prove any mistake or fraud to change the legal presumption that the writing contains all tne final contract. The absolute right to support, to sustain the surface which the law implies, cannot be overcome without an agreement distinctly waiving that obligation, as in Scranton vs. Phillips, 94 Penna. 15.
Judgment affirmed.
Note. — As to right of subjacent support; see, Barnes vs. Berwind, 3 Pennypacker 140; Carlin vs. Chappel, 101 Pa. 349. An injunction will be granted to prevent mining out the coal in such a manner as to let down the surface; Nelson vs. Miller, Hoch &amp; Co., 1 Schuylkill Legal Record, 187.
